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Approved:

             Assistant United States Attorneys

Before:      HONORABLE GABRIEL W. GORENSTEIN
             Chief United States Magistrate Judge
             Southern District of New York

                                         -l&MAG 8796
 UNITED STATES OF AMERICA                         SEALED COMPLAINT

            - v. -
                                                  Violations of
 SHERVINGTON LOVELL,                              46   u.s.c.
                                                  § § 7 O5 0 4 (b) ( 2 ) and
                            Defendant.            70506

                          - - - - - - - - - x
STATE OF NEW YORK
                         SS.:

COUNTY OF NEW YORK

          JEFFREY E. STRATTON, being duly sworn, deposes and
says that he is a Special Agent with the Drug Enforcement
Administration (the "DEA"), and charges as follows:

                             COUNT ONE
      (Conspiracy to Violate Maritime Drug Enforcement Laws)

          1.   From in or about April 2018 up to and including
in or about July 2018, in Guyana, Jamaica, Colombia, on the high
seas and elsewhere, SHERVINGTON LOVELL, the defendant, and
others known and unknown, intentionally and knowingly combined,
conspired, confederated, and agreed together and with each other
to violate the maritime drug enforcement laws of the United
States.

          2.   It was a part and an object of the conspiracy
that SHERVINGTON LOVELL, the defendant, and others known and
unknown, while on board a vessel subject to the jurisdiction of
the United States, knowingly and intentionally would and did
distribute and possess with intent to distribute a controlled
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substance, in violation of Title 46, United States Code, Section
70503 (a) (1).

          3.    The controlled substance involved in the offense
was five kilograms and more of mixtures and substances
containing a detectable amount of cocaine, in violation of Title
46, United States Code, Section 70506(a) and Title 21, United
States Code, Section 960(b) (1) (B).

    (Title 46, United States Code, Sections 70506(b) and 70504(b) (2) .)

          The bases for my knowledge and the foregoing charges
are, in part, as follows:

          4.   I have been a DEA Special Agent for approximately
twenty-three years. During my time as a DEA Special Agent, I
have become familiar with some of the ways in which narcotics
traffickers operate, and have participated in numerous
investigations involving international drug trafficking.   I have
been personally involved in the investigation of this matter.
This affidavit is based on my communications with other law
enforcement officers and other individuals, and on my review of
various reports and records. Because this affidavit is being
submitted for the limited purpose of establishing probable cause
for the offenses cited above, it does not include all of the
facts that I have learned during the course of the
investigation. Where the contents of documents and the actions,
statements, and conversations of others are reported herein,
they are reported in substance and in part, except where
otherwise indicated.

                                   Overview

           5.   Between in or about April 2018 and in or about
July 2018, SHERVINGTON LOVELL, the defendant, and several co-
conspirators met with two DEA confidential sources ("Cs-11 11 and
"CS-2 2 , respectively, and together, the "CSes 11 ) on multiple
          11




1 CS-1 is cooperating with the DEA in exchange for payment. CS-1
has previously been convicted of a narcotics offense.
Information provided by CS-1 has proven reliable and has been
corroborated in part by independent evidence in this and other
cases.

2
 CS-? is cooperating with the DEA in exchange for payment.
Information provided by CS-2 has proven reliable and has been
                                       2
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occasions at various locations in South America and the
Caribbean. During the course of those meetings, LOVELL and his
co-conspirators arranged for the maritime shipment of a large
quantity of cocaine on board a stateless vessel provided by a
co-conspirator not named herein ("CC-1"). On or about July 27,
2018, United States Coast Guard ("USCG") personnel intercepted
that vessel (the "Vessel") approximately 350 miles east of
Diamond Valley, Barbados. The Vessel bore no indicia of
nationality, and was transporting approximately 624 kilograms of
cocaine.

                          The Investigation

                        The April 18 Meeting

          6.   On or about April 18, 2018, at the DEA's
direction, the CSes met with SHERVINGTON LOVELL, the defendant,
CC-1, and two additional co-conspirators not named as defendants
herein ("CC-2" and "CC-3") at a hotel in Georgetown, Guyana (the
"April 18 Meeting").  From my review of a DEA report prepared
based on the CSes' recollections of the April 18 Meeting, which
was recorded, I have learned, among other things, the following:

                a.  LOVELL, CC-1, CC-2, and CC-3 discussed
sending a shipment of approximately 400 kilograms of cocaine to
the Netherlands, for which CC-1 indicated he would provide the
transportation.

               b.   During the April 18 Meeting, LOVELL stated
that he was looking for a way to retrieve his earnings after the
cocaine was sold in the Netherlands, because LOVELL had
previously laundered money from the United States and Canada,
but never from the Netherlands.

                         The June 5 Meeting

           7.    On or about June 5, 2018, at the DEA's direction,
the CSes again met with SHERVINGTON LOVELL, the defendant, CC-1,
and CC-2 at a residence in Montego Bay, Jamaica (the "June 5
Meeting").    Based on my review of a summary translation prepared
by a DEA translator of the June 5 Meeting, which was recorded, I
have learned, among other things, the following:



corroborated in part by independent evidence in this and other
cases.
                                   3
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                    a.   LOVELL, CC-1, CC-2, and the CSes again
discussed sending a maritime shipment of cocaine to the
Netherlands, to which all would contribute different quantities
of cocaine, including the CSes, who would do so along with
another co-conspirator ("CC-4").

                    b.   CC-1 stated that the transaction would
require approximately $400,000 for transportation expenses, and
LOVELL, CC-2, and the CSes all agreed to provide portions of
those expenses to CC-1.

                   c.    CC-1 stated that he would purchase
three months' worth of rations for the voyage.

                   d.    CC-1 further informed the CSes, in
substance and in part, that he would be using for the shipment a
vessel that he had previously used in a transaction with CC-4.

                    e.   CC-2 stated that he had a boat (the
"Boat") equipped with a hidden compartment for storing two
thousand kilograms of cocaine. From my review of a DEA report
prepared based on the CSes' recollections of the June 5 Meeting,
I have learned that CC-l's vessel would deliver the cocaine to
the Boat off the coast of Ireland, for further transport to the
Netherlands.

                         The June 23 Meeting

             8.  On or about June 23, 2018, at the DEA's
direction, CS-2 and two additional DEA confidential sources
("CS-3 3 " and "CS-4 4 " ) met with CC-1 in Georgetown, Guyana (the
"June 23 Meeting").        From my review of a DEA report prepared
based on the recollections of CS-2, CS-3, and CS-4 of the June
23 Meeting, which was recorded, I have learned, among other
things, the following:



3
  CS-3 is cooperating with the DEA in exchange for payment.
Information provided by CS-3 has proven reliable and has been
corroborated in part by independent evidence in this and other
cases.

4 CS-4 is cooperating with the DEA in exchange for payment.
Information provided by CS-4 has proven reliable and has been
corroborated in part by independent evidence in this and other
cases.
                                   4
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              a.    During the June 23 Meeting, CC-1 provided
CS-3 with coordinates at which the CSes' boat should meet CC-l's
vessel (the "Transfer Location").

              b.    CC-1 further informed CS-2, CS-3, and CS-4
that, before his vessel met the CSes' boat, the vessel would be
loaded with cocaine from SHERVINGTON LOVELL, the defendant, and
CC-2.

              c.    CC-1 and the CSes agreed to communicate via
radio at particular frequencies, using "pesca" as a code word.

                         The July 5 Meeting

           9.  On or about July 5, 2018, at the DEA's direction,
the CSes again met with CC-1, and subsequently met with
SHERVINGTON LOVELL, the defendant, and CC-2, in Georgetown,
Guyana (the "July 5 Meeting").  From my review of a DEA report
prepared based on the CSes' recollections of the July 5 Meeting,
which was recorded, I have learned, among other things, the
following:

                    a.   The CSes agreed to pay CC-1
approximately $100,000, as well as 25 kilograms of cocaine, in
return for the shipment of cocaine. The CSes provided CC-1 with
approximately $45,600 in cash.

                   b.    The CSes informed CC-1 that 100
kilograms of the cocaine shipment belonged to CC-4.

                    c.   CC-1 confirmed that his vessel would
meet the CSes' boat at the Transfer Location, and informed the
CSes that CC-l's vessel would meet the CSes' boat on July 25,
2018.

                   d.     The CSes and CC-1 then met with LOVELL
and CC-2 in a hotel room, during which the following occurred,
in substance and in part:

                      i. LOVELL stated that he had paid $100,000
to CC-1 for the upcoming cocaine shipment.

                     ii. CC-2 stated that he had approximately
$135,000 available to pay CC-1.

                   iii. CC-1 stated that his vessel would meet
a boat carrying LOVELL's and CC-2's cocaine approximately 300

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miles off the coast of Guyana and Suriname, and would then
continue to the Transfer Location on July 25, 2018.

                    iv. CC-1 stated that the captain of the
vessel was from Venezuela.

                      v. CC-1 informed the CSes, LOVELL, and CC-
2 that it would take approximately 12 to 15 days for the vessel
to reach the Azores Islands, where the cocaine would be
transferred to a fishing vessel (which the CSes believed
referred to the Boat, see supra at~ 7(e)) arranged by CC-2 and
CC-3.

                     vi. CC-2 stated that it would take seven to
ten days for the fishing vessel to arrive in the Netherlands
after receiving the cocaine.

                    vii. CC-2 also showed a photograph of the
uniform of the fishing company that would be retrieving the
cocaine shipmen~.

                     The July 16, 2018 Meeting

           10. On or about July 16, 2018, at the DEA's
direction, the CSes met with CC-4, and subsequently other
individuals, in Bogota, Colombia (the "July 16 Meeting").  From
my review of a DEA report prepared based on the CSes'
recollections of the July 16 Meeting, which was recorded, I have
learned, among other things, the following:

                    a.   CS-1 described the upcoming maritime
drug shipment that CC-4, the CSes, SHERVINGTON LOVELL, the
defendant, and CC-2 were planning, explaining that the CSes and
CC-4 had invested a total of 650 kilograms of cocaine, of which
100 kilograms belonged to CC-4.

                   b.    CS-1 related CS-l's understanding that
CC-4 had already provided approximately $295,000 in payment for
the venture.  CC-4 confirmed that the money provided to CS-1 for
the upcoming venture belonged to CC-4 and had been laundered
from South Africa.

                    c.   CS-1 described that on July 25, 2018,
the vessel belonging to CC-1 would retrieve cocaine from CS-1
and CC-4 approximately 500 miles from Trinidad and Tobago, and
would drop off that cocaine between the Azores Islands and
Ireland.

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                    d.   CC-4 stated that the area suggested
near the Azores Islands might have airplanes that surveil boats,
and explained that, should CC-1 have any problem with the
receipt of cocaine in that area, CC-4 could receive cocaine in
Bir Gandouz, on the coast of Western Sahara, with the assistance
of the "Tuaregs."

                    e.    After CS-1 showed a photograph of CC-
1' s vessel, which CC-1 had previously provided to CS-1 (the
"Photograph"), to CC-4, CC-4 noted that the same vessel had been
used in previous cocaine shipments that CC-4 had received from
CC-1.

                    f.   An associate of CC-4 who later joined
the meeting ("CC-5") provided $50,000 to an individual ("CC-6")
whom CC-1 identified to CS-2 as CC-l's wife. The CSes, along
with CC-4, subsequently contacted CC-1, to confirm that the
money had been provided to CC-1 via CC-6.

                   g.    CC-4 informed CC-5, in substance and in
part, that the money was being used for the upcoming maritime
project.

                         The July 18 Message

           11. On or about July 18, 2018, CC-2 sent an encrypted
text message to CS-1, stating: "Ok he told me the bus departs
tomorrow and I'm meeting with him on Saturday." Based on the
context of his prior communications with CC-2, CS-1 understood
the "bus" to refer to the departure of CC-l's vessel carrying
cocaine for SHERVINGTON LOVELL, the defendant, and CC-2.

                      The July 27 Interdiction

           12. Based on my participation in this investigation,
my conversations with USCG personnel and other law enforcement
agents, and my review of documents obtained during the
investigation, I have learned, among other things, the
following:

               a.   On or about July 27, 2018, two U.S. Coast
Guard cutters (the "Cutters") operating in international waters
approximately 350 nautical miles east of Diamond Valley,
Barbados, at a location in the vicinity of the Transfer
Location, and more than 12 nautical miles from the coast of any
country, detected a small, low-profile vessel, approximately 80
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feet in length (that is, the Vessel) that appeared to be
displaying no indicia of nationality, by flag or otherwise.

                        i. USCG personnel intercepted
communications over a particular radio frequency in which at
least one of the speakers used the word "pesca." See supra at
~ 8 ( c) (discussing the use of "pesca" as a code word) .

                     11. Based on my training, experience, and
participation in this investigation, including my comparison of
a photograph of the Vessel taken by USCG personnel with the
Photograph, see supra at~ lO(e), it appears that the Vessel is
the same vessel of which CC-1 had provided a photograph to CS-1,
and that CS-1 had then shown to CC-4.

               13. The Cutters deployed USCG personnel, who
approached and subsequently boarded the Vessel (the "Boarding
Team").  The Boarding Team inspected the Vessel and found no
documents or indicia of the Vessel's nationality on board.

                14. A passenger on board the Vessel identified
himself as the "master" of the Vessel ("Passenger-1").
Passenger-1 was later identified as a Venezuelan national, as
CC-1 had informed the CSes at the July 5 Meeting, see supra at
~ 9(a) (iv), the vessel's captain would be.


               15. The Boarding Team also found what appeared,
based on their training and experience, to be (i) an excessive
quantity of fuel on board the Vessel; and (ii) an excessive
supply of rations, which they believed, based on their training
and experience, indicated that the passengers on the Vessel were
intending to supply other vessels with additional fuel and
rations.

               16. Members of the Boarding Team observed
mattresses in the crew berthing area of the Vessel. Below the
mattresses and the wooden planks beneath those mattresses, the
Boarding Team located bales, or large bundles (the "Bales"),
wrapped in green and clear plastic and packed in duff el bags
(the "Duffel Bags") that appeared, based on their training and
experience, to contain narcotics.

               17. Two samples from the Bales field-tested
positive for the presence of cocaine.

               18. The Boarding Team recovered approximately 16
large duffel bags from the Vessel, each of which contained

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Bales.  In total, the contents of the Bales weighed
approximately 624 kilograms.

               19. The Boarding Team also recovered a magazine
containing approximately 30 rounds of ammunition.

                        The August 10 Meeting

           20. On or about August 10, 2018, at the DEA's
direction, the CSes met with CC-4 in Medellin, Colombia (the
"August 10 Meeting").  From my review of a DEA report prepared
based on the CSes' recollections of the August 10 Meeting, which
was recorded, I have learned, in substance and in part, that,
during the August 10 Meeting, the CSes and CC-4 discussed, in
substance and in part, that, as a result of the Vessel's
interdiction, CC-1 owed the CSes and CC-4 $260,000.

           21.  Based on the foregoing -- including, among other
things, the timing and location of the Vessel's interdiction,
the Vessel's captain's nationality, the Vessel's appearance, and
the substance of the CSes' August 10, 2018 meeting with CC-4 --
it appears that the Vessel contained a portion of the maritime
cocaine shipment planned by SHERVINGTON LOVELL, the defendant,
CC-1, CC-2, CC-4, and the CSes.  Specifically, the Bales appear
to have constituted the portion of the cocaine contributed by
LOVELL and CC-2 prior to the anticipated loading of additional
cocaine supplied by the CSes and CC-4.

          WHEREFORE, I respectfully request that a warrant be
issued for the arrest of SHERVINGTON LOVELL, the defendant, and
that he be imprisoned or bailed, as the case may be.




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          FURTHER, the Government respectfully moves for the
Complaint and arrest warrant to remain sealed -- with the
exception that the complaint and arrest warrant are unsealed for
the limited purpose of disclosing the existence of or
disseminating the Complaint and/or arrest warrant to relevant
United States, foreign, or intergovernmental authorities, at the
discretion of the United States and in connection with efforts
to prosecute the defendant or to secure the defendant's arrest,
extradition, or expulsion, or as otherwise required for purposes
of national security.




                                 Sp ci 1 Agent
                                 Drug Enforcement Administration

Sworn to before me this
15th day of October 2018




      United Stat~Magistrate Judge
 outhern District of New York




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